                                      SCJ 440 28:1442 see entries 2670,2672,2673 & 2674
                      Case 1:23-cv-03721-SCJ Document 1-187 FiledThis
                                                                  08/21/23
                                                                      case is in partPage
                                                                                      civil and1inof
                                                                                                   part2criminal as
JS44 (Rev.  NDGA)                    CIVIL COVER SHEET described    in the Notice of Removal
The JS44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided by
local rules of court. This form is required for the use of the Clerk of Court for the purpose of initiating the civil docket record. (SEE INSTRUCTIONS ATTACHED)


I. (a) PLAINTIFF(S)                                                                              DEFENDANT(S)

         State of Georgia                                                                        Jeffrey Bossert Clark




   (b) COUNTY OF RESIDENCE OF FIRST LISTED                                                     COUNTY OF RESIDENCE OF FIRST LISTED
         PLAINTIFF       Fulton County, Georgia                                                DEFENDANT Fairfax County, Virginia
                          (EXCEPT IN U.S. PLAINTIFF CASES)                                                        (IN U.S. PLAINTIFF CASES ONLY)

                                                                                                 NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND
                                                                                                 INVOLVED

  (c) ATTORNEYS (FIRM NAME, ADDRESS, TELEPHONE NUMBER, AND                                       ATTORNEYS (IF KNOWN)
                                   E-MAIL ADDRESS)

          Fani Willis, Esq., Nathan J. Wade, Esq.                                                Harry W. MacDougald
          Fulton County District Attorney's Office                                               CALDWELL, CARLSON, ELLIOTT & DELOACH LLP
          136 Pryor Street SW, 3rd Floor                                                         Two Ravinia Drive, Suite 1600
          Atlanta, 30303 fani.willisda@fultoncountyga.gov                                        Atlanta, Georgia 30346
           nathanwade@lawyer.com                                                                 (404) 843-1956 hmacdougald@ccedlaw.com

II. BASIS OF JURISDICTION                                                     III. CITIZENSHIP OF PRINCIPAL PARTIES
      (PLACE AN “X” IN ONE BOX ONLY)                                                 (PLACE AN “X” IN ONE BOX FOR PLAINTIFF AND ONE BOX FOR DEFENDANT)
                                                                                                        (FOR DIVERSITY CASES ONLY)

                                                                              PLF      DEF                                 PLF      DEF

   1 U.S. GOVERNMENT          ✔ 3 FEDERAL QUESTION                              1        1 CITIZEN OF THIS STATE               4       4    INCORPORATED OR PRINCIPAL
     PLAINTIFF                     (U.S. GOVERNMENT NOT A PARTY)                                                                            PLACE OF BUSINESS IN THIS STATE

   2 U.S. GOVERNMENT             4 DIVERSITY                                    2        2   CITIZEN OF ANOTHER STATE          5       5    INCORPORATED AND PRINCIPAL
     DEFENDANT                     (INDICATE CITIZENSHIP OF PARTIES                                                                         PLACE OF BUSINESS IN ANOTHER STATE
Defendant is charged                IN ITEM III)
                                                                                3        3   CITIZEN OR SUBJECT OF A          6        6    FOREIGN NATION
for conduct when he                                                                          FOREIGN COUNTRY
was a federal officer.
IV. ORIGIN (PLACE AN “X “IN ONE BOX ONLY)
                                                                                                        TRANSFERRED FROM              MULTIDISTRICT         APPEAL TO DISTRICT JUDGE
        1 ORIGINAL      ✔ 2 REMOVED FROM            3 REMANDED FROM            4 REINSTATED OR        5 ANOTHER DISTRICT            6 LITIGATION -        7 FROM MAGISTRATE JUDGE
          PROCEEDING        STATE COURT              APPELLATE COURT             REOPENED                 (Specify District)          TRANSFER              JUDGMENT


        MULTIDISTRICT
      8 LITIGATION -
        DIRECT FILE


V. CAUSE OF ACTIONJURISDICTIONAL
                   (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE - DO NOT CITE
                                    STATUTES UNLESS DIVERSITY)

     This is a removal pursuant to 28 U.S.C. Sec. 1442 and a series of other federal statutes of a state-law criminal indictment
     originally filed in Fulton Superior Court known as State of Georgia v. Trump, et al., Case No. 23SC188947 and an
     ancillary civil Special Purpose Grand Jury investigation, which is civil in nature under Georgia state law.

(IF COMPLEX, CHECK REASON BELOW)
                                                                                                                                             This is potentially applicable
    ✔ 1. Unusually large number of parties.                                          6. Problems locating or preserving evidence as important information
                                                                                                                                             remains under seal.
    ✔ 2. Unusually large number of claims or defenses.                           ✔   7. Pending parallel investigations or actions by government.
    ✔ 3. Factual issues are exceptionally complex                                ✔   8. Multiple use of experts.
    ✔ 4. Greater than normal volume of evidence.                                     9. Need for discovery outside United States boundaries.
    ✔                                                                            ✔ 10. Existence of highly technical issues and proof.
        5. Extended discovery period is needed.


                                                                        CONTINUED ON REVERSE
FOR OFFICE USE ONLY

RECEIPT #                           AMOUNT $                                         APPLYING IFP                        MAG. JUDGE (IFP) ______________________

JUDGE                               MAG. JUDGE                                       NATURE OF SUIT                       CAUSE OF ACTION______________________
                                                      (Referral)
            Case 1:23-cv-03721-SCJ Document 1-187 Filed 08/21/23 Page 2 of 2
VI. NATURE OF SUIT (PLACE AN “X” IN ONE BOX ONLY)
CONTRACT - "0" MONTHS DISCOVERY TRACK              CIVIL RIGHTS - "4" MONTHS DISCOVERY TRACK             SOCIAL SECURITY - "0" MONTHS DISCOVERY
         150 RECOVERY OF OVERPAYMENT &                   440 OTHER CIVIL RIGHTS                          TRACK
              ENFORCEMENT OF JUDGMENT                    441 VOTING                                             861 HIA (1395ff)
         152 RECOVERY OF DEFAULTED STUDENT               442 EMPLOYMENT                                         862 BLACK LUNG (923)
             LOANS (Excl. Veterans)                      443 HOUSING/ ACCOMMODATIONS                            863 DIWC (405(g))
         153 RECOVERY OF OVERPAYMENT OF                  445 AMERICANS with DISABILITIES - Employment           863 DIWW (405(g))
             VETERAN'S BENEFITS                          446 AMERICANS with DISABILITIES - Other                864 SSID TITLE XVI
                                                         448 EDUCATION                                          865 RSI (405(g))
CONTRACT - "4" MONTHS DISCOVERY TRACK
         110 INSURANCE                                                                                   FEDERAL TAX SUITS - "4" MONTHS DISCOVERY
         120 MARINE                                IMMIGRATION - "0" MONTHS DISCOVERY TRACK              TRACK
         130 MILLER ACT                                  462 NATURALIZATION APPLICATION                         870 TAXES (U.S. Plaintiff or Defendant)
         140 NEGOTIABLE INSTRUMENT                       465 OTHER IMMIGRATION ACTIONS                          871 IRS - THIRD PARTY 26 USC 7609
         151 MEDICARE ACT
         160 STOCKHOLDERS' SUITS                   PRISONER PETITIONS - "0" MONTHS DISCOVERY             OTHER STATUTES - "4" MONTHS DISCOVERY
         190 OTHER CONTRACT                        TRACK                                                 TRACK
         195 CONTRACT PRODUCT LIABILITY                  463 HABEAS CORPUS- Alien Detainee                      375 FALSE CLAIMS ACT         Georgia RICO is
         196 FRANCHISE                                   510 MOTIONS TO VACATE SENTENCE                         376 Qui Tam 31 USC 3729(a)
                                                         530 HABEAS CORPUS                                      400 STATE REAPPORTIONMENT involved. Also this
REAL PROPERTY - "4" MONTHS DISCOVERY                     535 HABEAS CORPUS DEATH PENALTY                        430 BANKS AND BANKING        matter is sui generis
TRACK                                                    540 MANDAMUS & OTHER                                   450 COMMERCE/ICC RATES/ETC.
                                                                                                                                             and thus discovery
         210 LAND CONDEMNATION                           550 CIVIL RIGHTS - Filed Pro se                        460 DEPORTATION
         220 FORECLOSURE                                 555 PRISON CONDITION(S) - Filed Pro se             ✔   470 RACKETEER INFLUENCED AND CORRUPT will likely
         230 RENT LEASE & EJECTMENT                      560 CIVIL DETAINEE: CONDITIONS OF                           ORGANIZATIONS                       take longer
         240 TORTS TO LAND                                   CONFINEMENT                                        480 CONSUMER CREDIT
         245 TORT PRODUCT LIABILITY                                                                             7(/(3+21(&21680(53527(&7,21$&7 than a
         290 ALL OTHER REAL PROPERTY               PRISONER PETITIONS - "4" MONTHS DISCOVERY                    490 CABLE/SATELLITE TV                   standard 4-
                                                   TRACK                                                    ✔   890 OTHER STATUTORY ACTIONS              month
TORTS - PERSONAL INJURY - "4" MONTHS                     550 CIVIL RIGHTS - Filed by Counsel                    891 AGRICULTURAL ACTS
DISCOVERY TRACK                                          555 PRISON CONDITION(S) - Filed by Counsel             893 ENVIRONMENTAL MATTERS                disco
         310 AIRPLANE                                                                                           895 FREEDOM OF INFORMATION ACT 899       very
         315 AIRPLANE PRODUCT LIABILITY            FORFEITURE/PENALTY - "4" MONTHS DISCOVERY                    $DMINISTRATIVE PROCEDURES ACT /
         320 ASSAULT, LIBEL & SLANDER              TRACK                                                           5(9,(:25$33($/2)$*(1&<'(&,6,21
                                                                                                                                                         track.
                                                                                                            ✔
         330 FEDERAL EMPLOYERS' LIABILITY                625 DRUG RELATED SEIZURE OF PROPERTY                   950 CONSTITUTIONALITY OF STATE STATUTES
         340 MARINE                                           21 USC 881
         345 MARINE PRODUCT LIABILITY                    690 OTHER
                                                                                                         OTHER STATUTES - "8" MONTHS DISCOVERY
         350 MOTOR VEHICLE
                                                                                                         TRACK
         355 MOTOR VEHICLE PRODUCT LIABILITY       LABOR - "4" MONTHS DISCOVERY TRACK
         360 OTHER PERSONAL INJURY                       710 FAIR LABOR STANDARDS ACT                           410 ANTITRUST
         362 PERSONAL INJURY - MEDICAL                   720 LABOR/MGMT. RELATIONS                              850 SECURITIES / COMMODITIES / EXCHANGE
             MALPRACTICE                                 740 RAILWAY LABOR ACT
         365 PERSONAL INJURY - PRODUCT LIABILITY         751 FAMILY and MEDICAL LEAVE ACT                OTHER STATUTES - “0" MONTHS DISCOVERY
         367 PERSONAL INJURY - HEALTH CARE/              790 OTHER LABOR LITIGATION                      TRACK
              PHARMACEUTICAL PRODUCT LIABILITY           791 EMPL. RET. INC. SECURITY ACT                       896 ARBITRATION
         368 ASBESTOS PERSONAL INJURY PRODUCT                                                                       (Confirm / Vacate / Order / Modify)
              LIABILITY                            PROPERTY RIGHTS - "4" MONTHS DISCOVERY
                                                   TRACK
TORTS - PERSONAL PROPERTY - "4" MONTHS                   820 COPYRIGHTS
DISCOVERY TRACK                                          840 TRADEMARK                                     PLEASE NOTE DISCOVERY
         370 OTHER FRAUD                                 '()(1'75$'(6(&5(76$&72) '76$
         371 TRUTH IN LENDING                                                                              75$&.)25($&+&$6(
         380 OTHER PERSONAL PROPERTY DAMAGE
         385 PROPERTY DAMAGE PRODUCT LIABILITY
                                                   PROPERTY RIGHTS - "8" MONTHS DISCOVERY                  7<3(6((/2&$/58/(
                                                   TRACK
BANKRUPTCY - "0" MONTHS DISCOVERY TRACK                   830 PATENT
         422 APPEAL 28 USC 158                            83 PATENT$%%5(9,$7('1(:'58*
                                                              $33/,&$7,216 $1'$  DND
         423 WITHDRAWAL 28 USC 157
                                                              +DWFK:D[PDQFDVHV




                                                                                                             The case against this
VII. REQUESTED IN COMPLAINT:                                                                                 Defendant should be
         CHECK IF CLASS ACTION UNDER F.R.Civ.P. 23          DEMAND $_____________________________            dismissed on motion but if it
JURY DEMAND            YES       NO (CHECK YES ONLY IF DEMANDED IN COMPLAINT)                                reaches trial, we will demand
                                                                                                             a jury trial.

VIII. RELATED/REFILED CASE(S) IF ANY
                       Steve C. Jones
         JUDGE_______________________________                                        1:23-cv-03621-SCJ
                                                                        DOCKET NO._______________________
CIVIL CASES ARE DEEMED RELATED IF THE PENDING CASE INVOLVES: (CHECK APPROPRIATE BOX)
         1. PROPERTY INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
     ✔   2. SAME ISSUE OF FACT OR ARISES OUT OF THE SAME EVENT OR TRANSACTION INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
         3. VALIDITY OR INFRINGEMENT OF THE SAME PATENT, COPYRIGHT OR TRADEMARK INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
         4. APPEALS ARISING OUT OF THE SAME BANKRUPTCY CASE AND ANY CASE RELATED THERETO WHICH HAVE BEEN DECIDED BY THE SAME
            BANKRUPTCY JUDGE.
         5. REPETITIVE CASES FILED BY PRO SE LITIGANTS.
         6. COMPANION OR RELATED CASE TO CASE(S) BEING SIMULTANEOUSLY FILED (INCLUDE ABBREVIATED STYLE OF OTHER CASE(S)):




         7. EITHER SAME OR ALL OF THE PARTIES AND ISSUES IN THIS CASE WERE PREVIOUSLY INVOLVED IN CASE NO.                                        , WHICH WAS
            DISMISSED. This case IS     IS NOT (check one box) SUBSTANTIALLY THE SAME CASE.




 SIGNATURE OF ATTORNEY OF RECORD                                                                  DATE
